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Attorney for Plaintiffs TRUSTEES OF THE
I-IAWAII LABORERS’ TRUST FUNDS

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAII
TRUSTEES OF THE HAWAII CIVIL NO.

LABORERS’ TRUST FUNDS
(Pension Fund by its Trustees,
Randall Ching, Cedric Ota,
Claude C. Matsumoto, Anacleto
Alcantara, Leonard Leong, Alan
Shinta;rli, Fred Lau, Karl
Kamada, Mark Matsumoto, Peter
Ganaban, Joby North II, Alfonso
Oliver, Pete Lindsey, Richard
Nishie, and Narsi Ganaban;
Health &, Welfare Fund by its
Trustees, Russell Nonaka,
Anacleto Alcantara, Ron
Prescott, Mark Tagami, Mark
Tamashiro, Alfonso Oliver, Mark
Matsumoto, Peter Ganaban,
Joby North II, and Richard
Nishie; Annuity Fund by its
Trustees, Ryan Wada, Clay

Asato, Anacleto Alcantara, Craig
Nakanishi, Audrey Hidano, Mark

 

coMPLAINT FoR sPEcIFIc
PERFORMANCE, AssUMPsIT
AND DAMAGES; ExI-IIBIT
“A”; sUMMONs

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Matsumoto, Alfonso Oliver, Joby )
North II, and Richard Nishie; )
Laborers’ and Employers’ )
Cooperation and Education )
Trust Fund (LECET) by its )
Trustees, Kenneth Kobatal<e, )
Lec)nard Dempsey, Mark ]
Tamashiro, Deron Matsuoka, )
Peter Ganaban, Mark )
Matsumoto, and Alfonso Oliver; )
Apprenticeship and Training )
Fund by its Trustees, Stephen )
Yoshida, Van Goto, Scott I. Higa, ]
Leonard Leong, Francis Pascual, )
Peter Ganaban, Mark )
Matsomoto, Alfonso OIiver, and )
Alvis McC:-mn; Vacation 85 )
Holiday Fund by its Trustees, )
Burt Watanabe, Kyle Nakamura, )
Anacleto Alcantara, Alfonso )
Oliver, Joby North II, Mark )
Matsumoto, and Peter Ganaban), ]
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Plaintiffs,
vs.
PACIFIC ISLAND CHEMICALS
CORPORATION, dba TESTRON

HAWAII, a Hawaii corporation,

Defendant.

 

(130223/950361) coMPLAINT

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COMPLAINT FOR SPECIFIC
PERFORMANCE, ASSUMPSIT AND DAMAGES
Come now Plaintiffs above-named by their attorneys,
Weinberg, Roger 85 Rosenfeld, and for Complaint against Defendant
above-named alleges and avers as follows:

FIRST CAUSE OF ACTION
(SPECIFIC PERFORMANCE)

l. Plaintiffs are the Trustees of the Hawaii Laborers’ Trust
Funds Which consist of the Hawaii Laborers’ Health & Welfare Trust
Fund, Havvaii Laborers’ Pension Trust Fund, I-lavvaii Laborers’
Apprenticeship and Training Trust Fund, Havvaii Laborers’ Vacation
85 Holiday Trust Fund, HaWaii Laborers’ Annuity Trust Fund, and
l-Iawaii Laborers and Employers’ Cooperative and Education Trust
Fund (hereafter “Trust Funds”].

2. This action arises under the Labor-Management
Relations Act, 1947, as amended, the Employee Retirement Income
Security Act of 1974, and the Multiemployer Pension Plan
Amendments Act of 1980, as hereinafter more fully appears.
Jurisdiction is founded on questions arising thereunder and more

specifically under 29 U.S.C. §§ 185(a), 1145, and 1132(a) and (f).

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3. At all times material herein, each of the above-named
Trust Funds (collectively “Plaintif`fs”) was, and now is, an employee
benefit plan organized and existing under the laws of` the United
States and Whose principal offices are in the City and County of
Honolulu, State of Hawaii. At all times herein mentioned, each of
the above-named Trust Funds was, and now is, an express trust
created by a written trust agreement subject to and pursuant to
Section 302 of the Labor-Management Relations Act (29 U.S.C. §
186) and a multiple employer benefit plan within the meaning of`
Sections 3 and 4 of the Employee Retirement Income Security Act
(29 U.S.C. §§ 1002 and 1003).

4. Plaintif`fs are informed and believe, and thereon allege,
that at times relevant herein Def`endant PACIFIC ISLAND
CHEMICALS CORPORATION, dba TESTRON HAWAII (hereinafter
“Defendant” or “Def`endant TESTRON”), was, and is now, a Hawaii
corporation, doing business in the State of Hawaii.

5. On or about March 27, 2015, Def`endant, by and through
its Vice President/ Director, Robert Patterson, made, executed and
delivered to the Laborers’ International Union of` North America,
Local 368, AFL-CIO (hereinaj`ter “Laborers’ Union”), that certain

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written collective bargaining agreement, entitled “EXHIBIT “G”
CERTIFICATION OF RECEIPT AND ACCEPTANCE, LABOR
AGREEMENT COVERING CONSTRUCTION MASONRY LABORERS
IN TI-IE STATE OF HAWAII AND AGREEMENTS AND
DECLARATION OF TRUST APPURTENANT HERETO” (hereinafter
“Agreement”) covering Defendant’s laborers in the State Of` Hawaii.
A true copy of said Agreement is attached hereto as Exhibit “A”, and
is incorporated herein by reference. Said Agreement by its terms
incorporated the various Trust Agreements establishing each of
Plaintiffs’ trusts. By said agreement(s), Defendant promised to
contribute and pay to the Trust Funds (hereinaf`ter collectively
referred to as “Trust Funds” or “Plaintif`f`s”) certain amounts for
employee benefits, for work performed by Defendant’s covered
employees, which amounts would be paid to the Trust Funds on or
before the due dates as specified in said agreement(s), commencing
on and after September l, 2014.

6. By said agreement(s), Defendant promised to submit
timely reports to the Trust Funds regarding hours worked by
Defendant’s covered employees, which reports would be submitted
to the Trust Funds on or before the due dates as specified in said

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agreement(s), commencing on and after September 1, 2014, to
permit audits of` its payroll records to allow Plaintiffs to ascertain
whether all contributions due have been paid, and to post a surety
bond or cash~in-escrow to secure payment or contributions if
required by the Trust Funds.

7. By said agreement(s), Defendant agreed to be subject to
and bound by all terms and conditions of the various trust
agreements, and further promised that in the event any monthly
contributions were not paid when due, Defendant would pay to
each trust fund liquidated damages in the amount of twenty
percent (20%) of the contributions due to each respective fund or
twenty dollars ($20.00), whichever is greater, for each and every
delinquent monthly contribution as provided by said agreement(s],
for each delinquency as and for liquidated damages and not as a
penalty.

8. By virtue of said agreement(s) and 29 U.S.C. §1132(g),
Plaintiffs are entitled to an award of liquidated damages equivalent
to interest at the rate prescribed in said agreement(s), of 12% per
annum, or under 26 U.S.C. §6621, whichever is greater, on any
unpaid contributions, such amount to be in lieu of the above-

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mentioned liquidated damages, if such amount is greater than the
above-mentioned liquidated damages

9. By virtue of 29 U.S.C. § 1132(g), Plaintiffs are entitled to
an award of` interest at the rate prescribed under said agreement(s),
of 12% per annum, or under 26 U.S.C. § 6621, whichever is greater,
on any unpaid contributions

10. By said agreement(s), the Plaintiffs are authorized and
empowered to have authorized representatives of the Plaintiffs’
Administrative Office examine and audit the payroll books and
records of Defendant to permit Plaintiffs to determine whether the
Defendant is making full payment as required under said
agreement(s).

ll. Plaintif`fs have notified Defendant and have demanded
that said Defendant submit timely payments and reports, but said
Defendant has failed, neglected and refused to do so.

12. Defendant now continues to fail, neglect and refuse to
submit timely payments and reports, and unless ordered to
specifically perform the agreement(s) to submit timely payments
and reports, Defendant will continue to fail, neglect and refuse to
submit timely payments and reports. Plaintiffs have no plain,

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speedy and adequate remedy at law in that the reports must be
prepared by Defendant and said Defendant’s continued refusal to
submit timely payments and reports will give rise to a multiplicity of
suits unless said Defendant is ordered to submit timely payments

and reports pursuant to said agreement(s).

SECOND CAUSE OF ACTION
(ASSUMPSIT AND DAMAGES)

13. Plaintiffs reallege and incorporate herein by reference
each and every allegation set forth in paragraphs 1 through 12 of
the First Cause of Action hereinabove set forth.

14. By said written agreement(s], Defendant agreed that
payment of employee benefit contributions to the various Trust
Funds would be based upon the total number of hours worked by
each covered employee. Defendant employed workers covered by
the provisions of said written agreement(s), and said workers
performed work and labor undertaken by Defendant during the
time said agreement(s) were in full force and effect.

15. Defendant’s current known delinquencies to the Plaintiff`s

are as follows:

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1. Contributions(lO/ 14 - 3/ 17 Audit): $58,311.93

2. Liquidated Damages (10/ 14 - 8/ 17 Audit
& 9/16, 12/ 16 & 1/ 17 Reports): $23,573.93

3. Interest, through 12 / 31/ 17
($19.20 per diem): §§ 6,359.29
Total: $88,244.54
plus attorneys’ fees and costs, for said audit and report periods,
plus additional interest accruing from December 31, 2017 at $19.20
per diem.

16. Defendant may owe Plaintiffs additional monetary
payments for Defendant’s covered employees, the amount of which
is unknown at this time. If such moneys are owed, said amounts,
together with liquidated damages as provided in said agreement(s),
are presently due and owing and have not been paid.

l7. Defendant’s obligations to Plaintiffs, pursuant to said
agreement(s), to make contributions are continuing obligations and
Defendant may accrue and owe additional amounts plus liquidated
damages up to the time of trial or proof.

18. At all times herein mentioned, it was, and now is,
impracticable and extremely difficult to fix the amount of actual

damages to Plaintiffs as a result of the non-payment of said

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contributions The amounts agreed upon herein, as hereinbefore
alleged, as and for liquidated damages, represented and now
represent a reasonable endeavor to ascertain and compensate for
the damages caused the Plaintiffs by the non-payment of said
contributions

19. By said agreement(s), Defendant further promised that if
it became necessary for Plaintiffs to take legal action to enforce
payment of contributions and / or liquidated damages from
Defendant, Defendant would pay all court and collection costs and
reasonable attorneys’ fees

20. By virtue of the foregoing, Plaintiffs have been damaged
in the amount of $88,244.54, plus interest at $19.20 per diem from
December 31, 2017 , and such additional amounts as may be
proven at trial of hearing on proof.

2 1. It has been necessary for the Plaintiffs to engage counsel
for the purpose of collecting said contributions and liquidated
damages and Plaintiffs are entitled to reasonable attorney’s fees in
connection therewith.

WHEREFORE, Plaintiffs pray for relief and judgment against
Defendant PACIFIC ISLAND CI-IEMICALS CORPORATION, dba

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TESTRON HAWAII, a Hawaii corporation (“Defendant”), as to the
First and Second Causes of Action hereinabove set forth, as follows:

1. That the Court orders Defendant to submit timely reports
and payments in accordance with said agreement(s).

2. That the Court orders Defendant to permit Plaintiffs to
audit its payroll books and records for the period of September
2017 through the present in accordance with said agreement(s).

3. That the Court awards to Plaintiffs and against
Defendant such amounts as may be determined to be due and
owing after the necessary reports have been provided, and / or after
the necessary payroll audit has been provided, plus such other
amounts as may be due and owing at the time of trial or proof.

4. That the Court awards to Plaintiffs and against
Defendant interest at the rate prescribed under the agreement(s) of
twelve percent (12%) or 26 U.S.C. § 6621, whichever is greater, on
such amounts determined to be due and owing after the necessary
reports have been provided, and / or after the necessary payroll
audit has been permitted, said interest to be calculated as of the
date(s) such amounts were due pursuant to said agreement(s). 29
U.S.C. § 1132(g).

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5. That the Court orders and compels Defendant
to furnish to each of the six (6) Plaintiffs trust funds a surety bond
or cash-in-escrow in the amount equal to Defendant’s last three (3)
months of contributions of $5,000.00, whichever is greater.

6. That the Court awards the Plaintiffs and against the
Defendant the sum of $58,311.93 in known October 2014 - August
2017 audit contributions plus interest on said audit contributions
at the rate prescribed under the agreement(s) of twelve percent
(12%) in the minimum amount of $6,359.29 through December 31,
2017 and at $19.20 per diem thereafter.

7. That the Court awards the Plaintiffs and against the
Defendant liquidated damages for the October 2014 - August 2017
audit, and September 2016, December 2016 and January 2017
reports, as provided in said agreement(s) of $23,573.93; or an
amount equal to interest (computed at the rate prescribed under
the agreement(s) of twelve percent (12%) or 26 U.S.C. § 6621,
whichever is greater), on any unpaid contributions due and owing
pursuant to said agreement(s), whichever amount is greater. 29

U.s.c § 1132(g).

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8. That the Court awards the Plaintiffs and against the
Defendant such additional amounts, including, but not limited to,
liquidated damages, interest (12%) on any additional report or audit
contributions from their due dates, as may, by proof, be shown to
be due and owing at the time of trial or proof.

9. That the Court awards the Plaintiffs and against the
Defendant all collection costs, costs of court and reasonable
attorneys' fees pursuant to said agreement(s) or other laws
29 U.S.C. § 1132(g).

10. That the Court orders and awards any further and
additional relief as the Court deems proper.

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DATED: Honolulu,nawaii, / /ZMLM /.7/ ,2018.

‘»» v

WEINBERG=,L ROGER 85 ROSENFELD

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AsHLEY K. IKEDA
Attorney for Plaintiffs
TRUSTEES OF THE HAWAII
LABORERS’ TRUST FUNDS

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